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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JOSE QUEZADA,

Plaintiff, 21 Civ. 4683 (PAE) (DCF)
-V-
ORDER
A & B MILLING COMPANY,

Defendant.

 

 

PAUL A. ENGELMAYER, District Judge:

The Court having been advised by the parties that all claims asserted herein have been
settled in principle, Dkt. 13, itis ORDERED that the above-entitled action is hereby dismissed
and discontinued without costs, and without prejudice to the right to reopen the action within 30
days of the date of this Order if the settlement is not consummated.

To be clear, any application to reopen must be filed within 30 days of this Order; any
application to reopen filed thereafter may be denied solely on that basis. Further, if the parties
wish for the Court to retain jurisdiction for the purposes of enforcing any settlement agreement,
they must submit the settlement agreement to the Court within the same 30-day period to be “so
ordered” by the Court. Per Paragraph 4(C) of the Court’s Individual Rules and Practices for
Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction to enforce a
settlement agreement unless it is made part of the public record. Any proposed order approving
the settlement agreement that seeks the Court’s continued jurisdiction should either (1) expressly
state that the Court retains jurisdiction to enforce the agreement or (2) incorporate the terms of
the settlement agreement in the order,

The Clerk of Court is respectfully directed to close this case.
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SO ORDERED.

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PAUL A. ENGELMAYER /
United States District Judge
Dated: November 29, 2021

New York, New York
